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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 EMMANUEL CORNET, JUSTINE DE
 CAIRES, GRAE KINDEL, ALEXIS
 CAMACHO, JESSICA PAN, EMILY
 KIM, MIGUEL BARRETO, and BRETT C.A. No. 1:23-cv-00441-TMH
 MENZIES FOLKINS, on behalf of
 themselves and all others similarly
 situated,

                         Plaintiffs,

                v.

 TWITTER, INC.

                            Defendant.


  PLAINTIFFS’ MOTION TO PROVISIONALLY SEAL ACCOMPANYING
              EXHIBITS TO NOTICE OF ADDITIONAL
                  SUPPLEMENTAL AUTHORITY


 Shannon Liss-Riordan (pro hac vice)                 Kate Butler, Bar I.D. No. 6017
 Bradley Manewith (pro hac vice)                     Kate Butler Law LLC
 Thomas Fowler (pro hac vice)                        1509 Gilpin Ave, Suite No. 3
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 Attorneys for Plaintiffs
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       Pursuant to this Court’s Manuals on filing, including Electronic Filing Tips

 for Attorneys and Electronic Filing of Sealed Civil Documents, Plaintiffs hereby

 move to provisionally seal a number of exhibits that will accompany a Notice of

 Additional Supplemental Authority (attached hereto as Exhibit A). The Notice of

 Additional Supplemental Authority will be publicly filed, but Plaintiffs request that

 the exhibits that will accompany the Notice (attached hereto as Exhibit B-H)

 remain under seal.

       The Notice of Supplemental Authority informs the Court of additional

 arbitration awards (Exhibit B-H) that Plaintiffs’ counsel have obtained on behalf of

 former Twitter employees who brought claims against Twitter in arbitration that

 are the same claims brought by the Plaintiffs in this case.

       Because Twitter takes the position that arbitration awards are confidential,

 Plaintiffs have filed the awards themselves under seal. As the arbitration awards

 contain some personally identifying information, if the Court is disinclined to

 permit the entirety of the documents to be filed under seal, Plaintiffs respectfully

 request the opportunity to submit a redacted version removing identifying

 information for the claimants referenced in the arbitration awards.




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 Dated: March 21, 2025              Respectfully submitted,

                                    EMMANUEL CORNET, JUSTINE DE
                                    CAIRES, GRAE KINDEL, ALEXIS
                                    CAMACHO, JESSICA PAN, EMILY KIM,
                                    MIGUEL BARRETO, and BRETT
                                    MENZIES FOLKINS, on behalf of
                                    themselves and all others similarly situated,

                                    By their attorneys,

                                     /s/ Kate Butler
                                    Kate Butler, Bar I.D. No. 6017
                                    Kate Butler Law LLC
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                          CERTIFICATE OF SERVICE

       I, Kate Butler, hereby certify that a true and accurate copy of the redacted

 version of this document was served on all counsel of record for Defendant via

 filing on the Court’s CM/ECF system and that Plaintiffs have served the sealed

 version of this document on Defendant’s counsel via email on March 21, 2025.


                                        /s/ Kate Butler
                                        Kate Butler




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